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UNITED STATES DISTRICT COURT |
FOR THE CENTRAL DISTRICT OF CALIFORNIA

February 2009 Grand Jury

 
   
 

  
   
 

 
  
 

     

UNITED STATES OF AMERICA, | °. AAG P&
LU UVLO.
Plaintiff, INDICIMENT”
Vv. [18 U.S.C. § 242: Deprivation

of Rights Under Color of Law]
ANTHONY SCLAFANT,

Defendant.

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The Grand Jury charges:
COUNT ONE
[18 U:S.C. § 242]

On or about February 24, 2005, in Riverside County, within
the Central District of California, defendant ANTHONY SCLAFANI,
then a sworn law enforcement officer employed by the City of
Desert Hot Springs Police Department, while acting under color of
law, did stun J.W. with an X26 Taser gun, a dangerous weapon,
after J.W. had been arrested and handcuffed, which resulted in
bodily injury to J.W., and thereby did willfully deprive J.W. of

the right secured and protected by the Constitution and laws of

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the United States to be secure in his person against an

unreasonable search and seizure.

 
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COUNT TWO
[18 U.S.C. § 242]

On or about February 25, 2005, in Riverside County, within
the Central District of California, defendant ANTHONY SCLAFANI,
then a sworn law enforcement officer employed by the City of
Desert Hot Springs Police Department, while acting under color of
law, did spray A.V.’s face and eyes with pepper spray and did
stun A.V. with an X26 Taser gun, a dangerous weapon, after A.V.
had been detained, which resulted in bodily injury to A.V., and
thereby did willfully deprive A.V. of the right secured and
protected by the Constitution and laws of the United States to be
secure in her person against an unreasonable search and seizure.

A TRUE BILL

LS/

Foreperson

GEORGE S. CARDONA
Acting United States Attorney

Creme CE

CHRISTINE C. EWELL
Assistant United States Attorney
Chief, Criminal Division

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Violent & Organized Crime Section

STEVEN M. ARKOW
Assistant United States Attorney

CHERYL O’ CONNOR MURPHY
Assistant United States Attorney

 
